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DECLARATION OF LORETTA JACKSON-KELLY

I, Loretta Jackson-Kelly, declare as follows:

1. I am a member of the Hualapai Tribe. I formerly served as Director of Hualapai
Cultural Resources within the Tribal Historic Preservation Office. I reside near Peach Springs,
Arizona where I grew up.

2. In Hualapai traditions and beliefs, Ha’ Kamwe is used for curing sicknesses by
soaking in the water and praying. In our beliefs, water is life. It is alive and can heal you when
you’re in pain. Water—especially from Ha’ Kamwe—is a blessing upon you when you are near
it, close to it, or in it.

os The area around Ha’Kamwe is held in high esteem because it hosts so many
cultural values. In addition to the spring itself, the plants, rocks, soil, animals, and everything in
that area are very important. Our traditions include gathering minerals and plants near
Ha’Kamwe; for example, wild tobacco is a significant blessing, and we use the tobacco to bless
ourselves, pray, and make offerings. We make use of other native vegetation too, like the
sagebrush and reeds that grow near and upon Ha’Kamwe. Willow and mesquite trees found in
the area were traditionally harvested for use as well.

4. The Hualapai have long been stewards of Ha’Kamwe and the land surrounding it.
In our history, when Creator made us, he spread us out on the land across what is now northwest
Arizona. The people who were in the Big Sandy area were the Big Sandy Band of Hualapai.
The people to the South were the Burro Creek Band, who defended our territory from Yavapai
and other invaders. Historically, enemy Tribes would try to invade us and take over our
homeland for the resources that were valuable, such as plants, water, and minerals. We weren’t
always at war, though, and when enemy Tribes would use trails in Hualapai territory, they would
put up rock cairns to mark that they passed through. It was a way of asking permission to move
through our land, to avoid confrontations or fighting.

5. Our history includes many stories about Ha’ Kamwe and the Big Sandy River. In

one, the Hualapai sent two young brothers to a cave near what is now Signal and Wikieup for a

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vision quest. There they were guided by a medicine man spirit who taught them songs and to
play the gourd, and he gave them blessings that were held in a medicine way. He took them on a
journey, in the area of Wikieup and Ha’Kamwe, as well as Trout Creek, and he taught them
songs and prayers for the water and hot springs. He taught them the importance of the plants,
what they were used for, and how to harvest them. At night, they looked up at the stars and
constellations, and he taught them songs about those too. The songs he taught them on the
journey were called Salt Songs.

6. The journey carried them across the southwest and to the Pacific Ocean. They
had learned Salt Songs all along the way, and when they came to the ocean, they sang them. The
songs were moving and sad: their name refers to the salt of tears.

7. That was the beginning of the Salt Songs for the Hualapai Tribe. When the boys
returned from their journey, they knew the songs and their meaning and retained the tradition of
the Salt Songs, including by teaching others. Big Sandy and Ha’Kamwe are significant because
they are part of the Salt Song trail. Each Salt Song that was taught to us has a very specific
meaning. I consider Ha’Kamwe as being blessed by the powerful medicine man spirit who
guided the brothers on their journey and remains to this day in the area around Ha’Kamwe.

8. The Big Sandy Hualapai people were once called Hak sgiel ba. They lived in the
Big Sandy region until the forced march of Hualapai to La Paz in 1874. Upon our return from
Fort La Paz in 1875, we discovered that the lands where our traditional gardening and agriculture
occurred, near rivers and springs, were occupied by pioneers and miners who came during the
Gold Rush following manifest destiny. The Hualapai Wars started when the Hualapai people
fought back trying to reclaim their land, ending when the federal government sent cavalry to kill
the Hualapai people. But even after that, we kept our strong ties to Big Sandy. The Hualapai
people have secured legal rights to be here, including through allotment deeds that many
Hualapai families hold. This area is, and will always be, our homeland. We steward and protect

it, including the waters and aquifers in the area.

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9. In 2004, I was involved in helping the Tribe get the deed for Cholla Ranch, where
Ha’Kamwe is located. We obtained around 360 acres through a donation from the previous
owner. We were very excited and happy to regain this integral part of our homeland.

10. We visited Cholla Ranch frequently after obtaining it and hired a caretaker to
manage it. Hualapai elders were interested in visiting the hot springs, so I would organize them
and take them there. They would soak in the hot springs and pray, and I did too. Sometimes we
would go through Cholla Ranch to an area next to it, to visit the Hualapai graves there and
collect flowers as part of the memorial routine. The Hualapai people buried there are directly
related to the Hualapai families that live in Peach Springs.

11. We have events at Cholla Ranch that celebrate and build family connections.
These events include father-son and mother-daughter gatherings, and gatherings to learn about
fatherhood, motherhood, and family traditions. These events teach and remind us how to live
together and be strong together. The first thing we do whenever we visit Ha’Kamwe is pray.

12. I have personally visited Ha’ Kamwe many times to pray, walk, and look around
Cholla Ranch with the caretakers, monitor activities there, and see how the property is doing.

13. Given Ha’Kamwe’s importance to our people, I am extremely concerned about
the proposed Sandy Valley lithium exploration project. Wells would be drilled right next to this
sacred site, bringing noise, dust, and other kinds of degradation associated with industrial
activity. The wells would be drilled into and through the underground aquifers that feed
Ha’Kamwe, potentially destroying its natural flows that we use for prayer and healing.

14. I was once asked if a replacement water source could be used for Ha’ Kamwe.
That would be sacrilege: you could never replace the water source into the hot springs. Doing so
would destroy its sacredness and change the entire integrity of the area. Ideas like that are why
we keep close tabs on Ha’Kamwe.

15s If drilling operations occur, it would be extremely invasive and intrusive to
Ha’Kamwe, the area around it, and the Hualapai people who use it. Drilling would also harm my
personal ties to Ha’Kamwe and Cholla Ranch, as it would change the spirituality and integrity of

the area forever.

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I declare under penalty of perjury that the foregoing is true and correct. Executed July

31, 2024.

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Loretta Jackson-Kelly

